NMA:PTH

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA TO BE FILED UNDER SEAL

 

 

-against- COMPLAINT AND AFFIDAVIT IN
IN SUPPORT OF APPLICATION
KIARALYS TORRES, FOR ARREST WARRANT
Defendant. (T. 18, U.S.C., §§ 1951 and 924(c))
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EASTERN DISTRICT OF NEW YORK, 8S:

SHAWN EDMONDS, being duly sworn, deposes and says that he is a Special .
Agent with the Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”), duly
appointed according to law and acting as such.

On or about October 12, 2014, within the Eastern District of New York, the
defendant KIARALYS TORRES, together with others, did knowingly and intentionally
conspire to obstruct, delay and affect commerce, and the movement of articles and
commodities in commerce, to wit: currency and merchandise, by robbery, while brandishing
a firearm.

(Title 18, United States Code, Sections 1951 and 924(c)).

The source of your deponent’s information and the grounds for his belief are

as follows:
1, I have been a Special Agent with the ATF for twelve years. During my
tenure with the ATF, I have investigated various federal criminal violations including
robberies, narcotics trafficking and homicides. During the course of those investigations, I
have conducted physical surveillance, monitored undercover operations, debriefed
cooperating witnesses and confidential informants, monitored wiretaps and cloned pagers,
and interviewed civilian witnesses. I am currently assigned to New York Group II, which
investigates violent crimes.

2. Because this affidavit is being submitted for the purpose of establishing
probable cause to arrest, I have not included every detail of every aspect of the investigation.
Rather, I have set forth only those facts that I believe are necessary to establish probable
cause. The information set forth below is based upon my experience and training as an ATF
Special Agent, my review of documents and other evidentiary items, debriefing of witnesses,
and my discussions with other law enforcement agents. Unless specifically indicated, all
conversations and statements described in this affidavit are related in substance and in part
only.

3. On or about September 10, 2014, an individual later identified as
defendant KIARALYS TORRES, accompanied by a female and a male, entered the victims’
apartment in Queens, New York.' Defendant TORRES and the individuals accompanying
her expressed to Victim #2 their interest in purchasing merchandise that the victims sold and

inquired as to where in the apartment the victims kept the merchandise.

 

' The victims (Victim #1 and Victim #2) are owners of a retail business that sells
watches and perfume, among other items, which are commodities that move in interstate
commerce. The victims store the merchandise at their Queens, New York apartment.
4. As detailed below, on or about October 12, 2014, between
approximately 7:30 p.m. and 8:30 p.m., individuals later identified as defendants
KIARALYS TORRES, HENRY FERNANDEZ, and PETE VEGA, entered the victims’
apartment building in Queens, New York and approached the front door of the victims’
apartment. Defendant TORRES, standing outside the front door, called the name of Victim
#1 and Victim #1 slightly opened the door. Defendants FERNANDEZ and VEGA forced
their way through the front door of the apartment. Defendants FERNANDEZ and VEGA
were wearing silver police shields on a chain around their necks; defendant FERNANDEZ
displayed his silver police shield and a firearm. Defendants FERNANDEZ and VEGA
misrepresented that they were police officers and that they had come to arrest Victim #1 for
credit card fraud. Shortly after defendants FERNANDEZ and VEGA entered the victims’
apartment, defendant TORRES exited the victims’ apartment building.

5. While holding a firearm, defendant FERNANDEZ rear-cuffed Victim
#1 and threw him to the ground, pinning him in that position while defendant VEGA went
through the victims’ apartment. Defendant FERNANDEZ asked Victim #1 where the money
was in the apartment. Defendant VEGA went into Victim #1’s room, where Victim #1’s safe
was open, and removed $1,600 in United States currency. Defendant VEGA then removed
$600 in United States currency from Victim #1’s night table. While holding a firearm,
defendant FERNANDEZ repeatedly advised Victim #1 that defendants FERNANDEZ and
VEGA were police officers and that if Victim #1 moved he would be shot.

6. Defendant FERNANDEZ brought Victim #1 into another room in the
apartment, where he used another set of handcuffs to cuff him to a door. Defendants

FERNANDEZ and VEGA took out large laundry bags that they had brought and placed
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merchandise from Victim #1’s business, including watches, perfumes and handbags, into the
bags. Victim #1 has estimated that the defendants stole approximately $16,000 worth of
merchandise. Defendants FERNANDEZ and VEGA then ran out of the victims’ apartment
just as Victim #2 entered the apartment; they rushed Victim #2 out of their way by pushing
him towards the door.

7. Surveillance video taken from inside the victims’ apartment building
shows a female and two males entering the building around the time of the robbery. The
female is seen exiting the building a few minutes later. The female in the surveillance video
has the same general physical characteristics—including height, weight, skin color, and hair
color—as defendant TORRES.

8. On December 4, 2014, law enforcement agents observed defendant
TORRES in Courtroom 2A of the United States Courthouse in Brooklyn, New York during
the arraignment of other defendants involved in or related to the October 12, 2014 home
invasion robbery. Defendant TORRES was wearing a rose gold watch that appeared similar
to one of the watches stolen during the October 12, 2014 home invasion robbery.

9. On December 15, 2014, an NYPD detective showed Victim #2 a photo
array, which included a photo of the defendant TORRES and five other women.” After
viewing the photo array, Victim #2 positively identified defendant TORRES as the female

who visited his apartment on September 10, 2014 as a potential buyer of merchandise from

the victims.

 

* A January 13, 2010 department of motor vehicles photograph of defendant
TORRES was included in the photo array. The driver’s license states that defendant
TORRES was born in 1991, is 5’4” tall, and has brown eyes.
10. On December 16, 2014, law enforcement agents searched a single-
family home located at 158-11 81st Street, Howard Beach, New York, 11414 (“Howard
Beach residence”), pursuant to a court-authorized search warrant. According to records of
the New York State Department of Motor Vehicles, defendant FERNANDEZ resides at that
Howard Beach residence. During law enforcement agents’ December 16, 2014 search of the
Howard Beach residence, they found several items stolen from the victims of the October 12,
2014 robbery. Law enforcement agents also observed defendant TORRES at the Howard
Beach residence during the search. Defendant TORRES told law enforcement agents that
she had been living at the Howard Beach residence for the previous six months.

11. On January 5, 2015, an NYPD detective showed Victim #1 a photo
array, which included a photo of the defendant TORRES and five other women.’ After
viewing the photo array, Victim #1 positively identified defendant TORRES as the female
who visited his apartment on September 10, 2014 as a potential buyer of merchandise from
the victims.

12. Because public filing of this document could result in defendant
TORRES’s flight and/or danger to the Victims identified herein, your deponent respectfully

requests that the complaint and arrest warrant be filed under seal.

 

> A January 13, 2010 department of motor vehicles photograph of defendant
TORRES was included in the photo array. The driver’s license states that defendant
TORRES was born in 1991, is 5°4” tall, and has brown eyes.
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WHEREFORE, your deponent respectfully requests that the defendant be dealt

with according to law.

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SHAWN EDMONDS
Special Agent
Bureau of Alcohol, Tobacco, Firearms and
Explosives

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THE HONORABLE SKEVEN M. GOLD
UNITED STATES MAG E JUDGE

EASTERN DISTRICT OF NEW YORK _
